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                                     UNITED STATES DISTRICT COURT
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                                  NORTHERN DISTRICT OF CALIFORNIA
10
                                             OAKLAND DIVISION
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      DONALD R. CAMERON, et al.,                           Case No. 4:19-cv-03074-YGR
12
                                     Plaintiffs,           [PROPOSED] ORDER GRANTING
13                                                         DEVELOPER PLAINTIFFS’
               v.                                          MOTION FOR FINAL APPROVAL
14                                                         OF SETTLEMENT
15    APPLE INC.,
                                                           Hon. Yvonne Gonzalez Rogers
16                                   Defendant.

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     [PROPOSED] ORDER GRANTING DEVELOPER
     PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF SETTLEMENT
     Case No. 4:19-cv-03074-YGR
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 1             This matter has come before the Court to determine whether there is any cause why this

 2    Court should not approve the Developer Plaintiffs’ (“Plaintiffs”) settlement with Apple Inc.

 3    (“Apple” or “Settling Defendant”). The Court, having reviewed Plaintiffs’ Motion for Final

 4    Approval of Settlement and Response to Objectors (“Motion”), the Settlement Agreement, the

 5    pleadings and other papers on file in this action, the statements of counsel and the parties, and the

 6    objection of Steven Wytyshyn (ECF No. 469), hereby finds that the Settlement Agreement should

 7    be approved. Accordingly, the Court enters this Order of Final Approval.

 8             IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

 9              1.      The Court has jurisdiction over the subject matter of this litigation, and all actions

10     within this litigation (collectively, the “Action”) and over the parties to the Settlement Agreement,

11     including all members of the Settlement Class and the Settling Defendant.

12              2.      For purposes of this Order, except as otherwise set forth herein, the Court

13     incorporates the definitions contained in the Settlement Agreement. See ECF No. 453, Order

14     Granting Preliminary Approval of Class Action Settlement and Setting Deadlines for Notice,

15     Objection, Exclusion, and Final Fairness Hearing, Ex. A (Settlement Agreement). The Court

16     hereby finally approves and confirms the settlement set forth in the Settlement Agreement, and

17     finds that said settlement is, in all respects, fair, reasonable, and adequate to the Settlement Class

18     pursuant to Rule 23 of the Federal Rules of Civil Procedure, including with respect to each of the

19     factors enumerated in Rule 23(e)(2).

20              3.      The following class is certified for settlement purposes only, pursuant to Rule 23 of

21     the Federal Rules of Civil Procedure:

22                      All former or current U.S. developers of any Apple iOS application or
                        in-app product (including subscriptions) sold for a non-zero price via
23                      Apple’s iOS App Store that earned, through all Associated Developer
                        Accounts, proceeds equal to or less than $1,000,000 through the App
24
                        Store U.S. storefront in every calendar year in which the U.S.
25                      developer had a developer account between June 4, 2015 to the date
                        of the Agreement (August 24, 2021). For class definition purposes,
26                      the 2015 calendar year shall consist of June 4, 2015 through December
                        31, 2015. The 2021 calendar year shall consist of January 1, 2021
27                      through April 26, 2021. Additionally, excluded from the Settlement
                        Class are (a) directors, officers, and employees of Apple or its
28
     [PROPOSED] ORDER GRANTING DEVELOPER PLAINTIFFS’
     MOTION FOR FINAL APPROVAL OF SETTLEMENT - 1
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 1                      subsidiaries and affiliated companies, as well as Apple’s legal
                        representatives, heirs, successors, or assigns, (b) the Court, the Court
 2                      staff, as well as any appellate court to which this matter is ever
                        assigned and its staff, (c) Defense Counsel, as well as their immediate
 3
                        family members, legal representatives, heirs, successors, or assigns,
 4                      (d) any Developers who validly request exclusion (“opt out”) from the
                        Settlement Class, and (e) any other individuals whose claims already
 5                      have been adjudicated to a final judgment.
 6              4.      The settlement class shall be referred to herein as the “Settlement Class.”
 7              5.      The Court finds the prerequisites to a class action under Federal Rule of Civil
 8     Procedure 23(a) have been satisfied for settlement purposes only by the Settlement Class in that:
 9                          (a) there are at least tens of thousands of geographically dispersed settlement
10                             class members, making joinder of all members impracticable;
11                          (b) there are questions of law and fact common to the settlement class which
12                             predominate over individual issues;
13                          (c) the claims or defenses of the Class Representatives are typical of the claims
14                             or defenses of the Settlement Class;
15                          (d) the Class Representatives will fairly and adequately protect the interests of
16                             the Settlement Class, and have retained counsel experienced in antitrust class
17                             action litigation who have, and will continue to, adequately represent the
18                             Settlement Class; and
19                          (e) resolution through class settlements is superior to individual settlements.
20              6.      The Court finds that this Action may be maintained as a class action under Federal
21     Rule of Civil Procedure 23(b)(3), for settlement purposes only, because: (i) questions of fact and
22     law common to members of the Settlement Class predominate over any questions affecting only
23     the claims of individual members; and (ii) a class action is superior to other available methods for
24     the fair and efficient adjudication of this controversy.
25              7.      Pursuant to Federal Rule of Civil Procedure 23(g), the Court hereby confirms that
26     Hagens Berman Sobol Shapiro LLP is appointed as Settlement Class Counsel, and that the named
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     [PROPOSED] ORDER GRANTING DEVELOPER PLAINTIFFS’
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 1     Plaintiffs, Donald Cameron and Pure Sweat Basketball, Inc., are appointed to serve as the Class

 2     Representatives on behalf of the Settlement Class.

 3              8.      Plaintiffs’ notice of the Settlement to the Settlement Class was the best notice

 4     practicable under the circumstances. The notice satisfied due process and provided adequate

 5     information to the Settlement Class of all matters relating to the Settlement, and fully satisfied the

 6     requirements of Federal Rules of Civil Procedure 23(c)(2) and (e)(1).

 7              9.      Certain members of the Settlement Class timely and validly requested exclusion

 8     from the Settlement Class, and therefore they are excluded from the Settlement Class. These

 9     persons and entities are reflected in the attached Exhibit A to this order. Such persons and entities

10     are not included in or bound by this Order as it relates to the Settlement for which they opted-out.

11     Such persons and entities are not entitled to any recovery of the settlement proceeds obtained

12     through this Settlement.

13              10.     The Court has reviewed and considered the objection of Steven Wytyshyn (ECF No.

14     469), and finds it to be without merit.

15              11.     Without affecting the finality of this Order in any way, this Court hereby retains

16     continuing, exclusive jurisdiction over the settlement and the Settlement Agreement, including:

17                          (a) implementation of the settlement and any distribution to members of the

18                             Settlement Class pursuant to further orders of this Court;

19                          (b) disposition of the Settlement Fund;

20                          (c) determining attorneys’ fees, costs, expenses, and interest;

21                          (d) the Action until Final Judgment contemplated hereby has become effective

22                             and each and every act agreed to be performed by the parties all have been

23                             performed pursuant to the Settlement Agreement;

24                          (e) hearing and ruling on any matters relating to the plan of allocation of

25                             settlement proceeds;

26                          (f) all parties to the Action and Released Parties, for the purpose of enforcing

27                             and administering the Settlement Agreement and the mutual releases and

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     [PROPOSED] ORDER GRANTING DEVELOPER PLAINTIFFS’
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 1                             other documents contemplated by, or executed in connection with, the

 2                             Settlement Agreement; and

 3                          (g) any other proceedings concerning the administration, interpretation,

 4                             consummation, and enforcement of these settlements.

 5              12.     The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

 6     Procedure, that Final Judgments of Dismissal with prejudice as to the Settling Defendant

 7     (“Judgment”) should be entered forthwith and further finds that there is no just reason for delay in

 8     the entry of the Judgment, as a Final Judgment, in accordance with the Settlement Agreement.

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10    IT IS SO ORDERED.
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12    DATED:
                                                       Hon. Yvonne Gonzalez Rogers
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                                                       United States District Judge
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     [PROPOSED] ORDER GRANTING DEVELOPER PLAINTIFFS’
     MOTION FOR FINAL APPROVAL OF SETTLEMENT - 4
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 1                            EXHBIT A – VALID EXCLUSION REQUESTS

 2                     No.                                 Party
 3                      1    Pleco Inc.
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                        2    Christian Classics Ethereal Library
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                        3    Millennium Products, Inc.
 6
                        4    Eri Lombardo
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 8                      5    Gooseworks Media LLC

 9                      6    Ebranta Technologies Inc.
10                      7    DEVONtechnologies, LLC
11
                        8    Michael Hominick
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                        9    CoverMe Communications, Inc.
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                       10    Justin Andrews
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15                     11    Ryan Steder

16                     12    Nike, Inc.
17                     13    KPAW
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     [PROPOSED] ORDER GRANTING DEVELOPER PLAINTIFFS’
     MOTION FOR FINAL APPROVAL OF SETTLEMENT - 5
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